IH-32                                                                                   Rev: 2014-1




                          United States District Court	

                                      for the	

                         Southern District of New York	

                                  Related Case Statement	

                                                     !
                                  Full Caption of Later Filed Case:

XY Planning Network, LLC; and Ford
Financial Solutions, LLC



                      Plaintiff                                       Case Number


                                                     1:19-cv-08415
                         vs.

!!
United States Securities and Exchange
Commission; and Walter "Jay" Clayton III, in his
official capacity as Chairman of the United States
Securities and Exchange Commission


                     Defendant

                                  Full Caption of Earlier Filed Case:
                  (including in bankruptcy appeals the relevant adversary proceeding)

!!
STATE OF NEW YORK, STATE OF CALIFORNIA,
STATE OF CONNECTICUT, STATE OF
DELAWARE, DISTRICT OF COLUMBIA, STATE
OF MAINE, STATE OF NEW MEXICO, and STATE
OF OREGON

                      Plaintiff                                       Case Number

                                                     1:19-cv-08365-VM
                         vs.

!!
UNITED STATES SECURITIES AND EXCHANGE
COMMISSION; and WALTER "JAY" CLAYTON III,
in his official capacity as Chairman of the United
States Securities and Exchange Commission


                     Defendant
!

                                                 Page !1
IH-32                                                                                         Rev: 2014-1



Status of Earlier Filed Case:
                          (If so, set forth the procedure which resulted in closure, e.g., voluntary
        ____ Closed       dismissal, settlement, court decision. Also, state whether there is an appeal
                          pending.)
        ✔
     ____ Open            (If so, set forth procedural status and summarize any court rulings.)

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The complaint was filed on 09/09/2019.
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!
Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
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!
Both cases allege that the final rule of the United States Securities and Exchange
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Commission published at 84 Fed. Reg. 33,318 (July 12, 2019) violates the Administrative
!
Procedure Act, 5 U.S.C. §§ 701-706.
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!             /s/ Jonathan E. Taylor                                             09/10/2019
Signature:    ________________________________________                   Date: __________________!
!
!             Gupta Wessler PLLC
Firm:         ________________________________________


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